
27 So. 3d 781 (2010)
Sonny S. MANZANO, Appellant,
v.
The STATE of Florida, Appellee.
No. 3D10-56.
District Court of Appeal of Florida, Third District.
February 17, 2010.
George M. Evans, for appellant.
Bill McCollum, Attorney General, for appellee.
Before COPE, WELLS and SALTER, JJ.
PER CURIAM.
This is an appeal of an order denying a motion for postconviction relief, in which Sonny S. Manzano seeks to set aside the plea she entered in 2000, because she alleges that she was not warned of the immigration consequences of the plea. The motion of defendant-appellant Manzano was filed December 2, 2009.
We affirm the trial court's order denying relief because the window period created by State v. Green, 944 So. 2d 208 (Fla. 2006), ran two years from October 26, 2006. The motion was filed after the expiration of the window period.
Affirmed.
